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IN THE UNITED STATES DISTRICT COU§P§'§D
FOR THE WESTERN DISTRICT OF TENNE EIG 13

EASTERN DIVISION ‘l" 9-0
oNrrED srArEs oF AMERICA, C.. §§ C§A;I LCFELSUW
Plaintiff, t ~’v‘ MCK§@N
VS- No. 05-10017r
GEoRGE vaiN ALLRED,
Defendant.

ORDER CONT[NUTNG TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for
good cause shown, the report date which is currently scheduled for August 22, 2005, and the trial
date which is currently scheduled for August 29, 2005 , are hereby continued. The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinalv. the trial is continued from August 29. 2005. to Decernber 5 . 2005.
at 9:30 A.M. The resulting period of delay, from August 29, 2005, to December 5, 2005, is
excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).

A new report/motion date has been set for November 15, 2005, at 8:30 a.m.

IT IS SO ORDERED.

JAME . TODD
UNI STATES DISTRICT JUDGE

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This document entered on the docket sheet in compliance

with sure 55 and/orez(b) Fach'on § 13 1912 *OS

 

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This notice confirms a copy of the document docketed as number 17 in
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Honorable J ames Todd
US DISTRICT COURT

